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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA                           STAYED
                                                                                        “O”
                               CIVIL MINUTES - GENERAL
    Case No.        CV15-6633-CAS(AJWx); C/W:       Date January 9, 2017
                    CV16-2287-CAS(AJWx)
    Title           THE WIMBLEDON FUND, SPC (CLASS TT) v. GRAYBOX , LLC, ET
                    AL.
 
     
    Present: The Honorable          CHRISTINA A. SNYDER 
               Ingrid Valdes                             Laura Elias                        N/A 
               Deputy Clerk                       Court Reporter / Recorder               Tape No.
             Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants: 
                      James Walker                               Patricia Glaser; Richard Buckner;
                                                                     Kevin Scott; Paul Levine;
                                                  Karen Sassounian; Nancy Fong
    Proceedings:           DEFENDANTS GRAYBOX, LLC AND DAVID BERGSTEIN’S
                           MOTION TO STAY ACTION PENDING RESOLUTION OF
                           RELATED CRIMINAL ACTION (Dkt. 286, filed December 7,
                           2016)
 
I.           INTRODUCTION

       On July 30, 2015, the Wimbledon Fund, SPC (Class TT) (“Wimbledon”) filed an
action in the United States District Court for the Southern District of Texas against
defendants David Bergstein, Jerome Swartz, Aaron Grunfeld, and Kiarash Jam
(collectively, “defendants”). (“Alter Ego Action”). The Wimbledon Fund, SPC (Class
TT) v. Bergstein, No. 2:16-cv-2287-CAS-AJW, dkt. 40. In brief, Wimbledon alleges that
it was the victim of a fraudulent investment scheme involving an investment advisory
company named Swartz IP Services Group (“SIP”). Wimbledon asserts that in
November and December 2011, it invested $17.7 million dollars with SIP pursuant to a
note purchase agreement, but that subsequently SIP caused this investment to be
transferred to various third parties, including defendants, in violation of the California
Uniform Fraudulent Transfer Act (“CUFTA”). In the Alter Ego Action, Wimbledon
seeks a declaratory judgment that defendants Bergstein, Swartz, Grunfeld, and Jam are
jointly and severally liable for SIP’s liability arising out of or under its note purchase
agreement with Wimbledon, under the alter ego or “sham to perpetrate fraud” doctrines.

     On August 28, 2015, Wimbledon filed an action in this Court against defendants
Graybox, LLC. (“Graybox”), Integrated Administration (“IA”), Eugene Scher, as trustee

 
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of the Bergstein Trust, and Cascade Technologies, Corp. (“Fraudulent Transfer Action”).
The Wimbledon Fund, SPC (Class TT) v. Bergstein, No. 2:15-cv-06633-CAS-AJW, Dkt.
1, (“Fraudulent Transfer Compl.”).1

      On April 1, 2016, the Alter Ego Action was transferred to this Court. Alter Ego
Action, Dkt. 64. Thereafter, on May 10, 2016, the Court granted Wimbledon’s
unopposed motion to consolidate the Fraudulent Transfer and Alter Ego Actions. Dkt.
134.

      Also on May 10, 2016, Graybox and Scher filed a third party complaint seeking
indemnification or contribution from six third party defendants: Weston Capital Asset
Management, LLC (“WCAM”); Weston Capital Management, LLC (“WCM”); Société
Générale Private Banking Suisse, SA; Swiss Financial Services (Bahamas) Ltd.; Albert
Hallac; Jeffrey Hallac; and Keith Wellner. Dkt. 133. This third party complaint was
amended on November 3, 2016. See dkt. 278.

      On September 12, 2016, Wimbledon filed a second amended complaint against
Bergstein, Swartz, Grunfeld, and Jam. Dkt. 197 (“SAC”).

       On November 9, 2016, Bergstein’s counsel was notified that a grand jury in the
Southern District of New York had returned an indictment against Bergstein. Id. at 1;
dkt. 286-1 ¶ 2. On December 7, 2016, Graybox and Bergstein filed the instant motion to
stay this action pending the resolution of that related criminal action. Dkt. 286
(“Motion”).

       On December 15, 2016, Wellner filed an opposition to the instant motion in which
he submits to a stay of the underlying action against Bergstein and Graybox but argues
that the third party complaint against him should be dismissed without prejudice in lieu of
an indefinite stay. Dkt. 287 (“Wellner Opp’n”).

       On December 15, 2016, Swartz filed a response to the instant motion in which he
takes no position regarding whether Wimbledon’s claims against Graybox and Bergstein
should be stayed but opposes a stay to the extent it would apply to a dispositive motion
                                                            
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       Unless otherwise indicated this brief refers to documents filed in Case No. 2:15-
cv-06633-CAS-AJW in this Court.
 
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filed by him regarding Wimbledon’s claims. Dkt. 288 (“Swartz Opp’n”). Swartz intends
to file a motion for partial summary judgment seeking dismissal of Wimbledon’s alter
ego claim against him and Swartz asserts that Bergstein’s testimony will not be necessary
for the Court to resolve his future motion for partial summary judgment. Id.

       On December 15, 2016, WCAM and WCM (collectively, “Weston defendants”),
along with Albert Hallac and Jeffrey Hallac (collectively, “Hallac defendants”) filed a
partial opposition to the motion to stay. Dkt. 289 (“Weston/Hallac Opp’n”). The
Weston and Hallac defendants submit to a stay of the underlying action by Wimbledon
against Bergstein and Graybox, but they argue that the Court should dismiss claims
against the Weston and Hallac defendants without prejudice so that they may avoid “the
burden of this proceeding hanging over them.” Id. at 2.

      On December 15, 2016, Wimbledon filed an opposition to the instant motion. Dkt.
290 (“Wimbledon Opp’n”).

       On December 15, 2016, IA and Jam filed a notice of non-opposition to the motion
to stay. Dkt. 292.

     On December 23, 2016, Bergstein and Graybox filed a reply in support of their
motion for a stay. Dkt. 293.

       On January 6, 2017, after the close of business, the United States moved to
intervene in this action and to stay this matter in all aspects beyond the exchange of
document discovery until the conclusion of the criminal case. Dkt. 295.

II.          BACKGROUND

      The SAC alleges the following facts: Wimbledon was founded on or about
December 18, 1995, and is a pooled investment hedge fund. SAC ¶ 10. SIP was formed
by defendants Bergstein, Grunfeld, Swartz, and Jam as a Texas Corporation on December
2, 2010. Id. ¶¶ 13–14. According to Wimbledon, these defendants created SIP to shield
themselves from personal liability and operated SIP as if they and SIP were a single
economic entity, i.e., they made no distinction between their personal finances and the
finances of SIP. Id. ¶¶ 14–15.

 
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      On or about November 14, 2011, Wimbledon and SIP entered into a Note Purchase
Agreement (“NPA”). Id. ¶ 18. Pursuant to this agreement, Wimbledon had the right to
purchase up to $25 million worth of reference notes issued by SIP (the “SIP Notes”). Id.
According to Wimbledon, the NPA contained numerous provisions indicating that SIP
was a legitimate business and that the SIP Notes were a legitimate investment. Id. ¶ 19.

       In November and December 2011, Wimbledon made payments of $12.5 and $5.2
million, respectively, to SIP to purchase SIP Notes. Id. ¶ 20. Wimbledon’s November
2011 investment was wired to SIP’s bank accounts with Deutsche Bank. Id. ¶ 21. Over
the course of the following weeks and months, the Deutsche Bank accounts were
virtually depleted through a series of wire transfers to third-party entities controlled by or
for the benefit of Bergstein, Grunfeld, Swartz, and Jam. Id. Wimbledon contends that
these transfers were entirely inconsistent with the terms of the NPA. Id.

       Pursuant to the NPA, Wimbledon was entitled to make redemption requests in
certain circumstances requesting repayment of its investment from SIP. See id ¶¶ 19, 38.
In August and October of 2012, Wimbledon made redemption requests on SIP. Id. ¶ 38.
In January 2013, Wimbledon made a final redemption request on SIP for approximately
$4.7 million. Id. SIP ignored all of these redemption requests. Id. On February 4,
pursuant to another provision of the NPA, Wimbledon declared the SIP Notes
immediately due and payable. Id. ¶ 39. SIP likewise ignored this notice. Id.

       On February 8, 2013, the Texas Secretary of State caused SIP’s certificate of
formation to be forfeited pursuant to Section 171.309 of the Texas Tax Code. Id. ¶ 40.
On that same date, Wimbledon sued SIP for breach of contract in New York state court.
Id. ¶ 41. A default judgment of $23,051,971.31 plus post-judgment interest, which
continues to accrue, was eventually entered in favor of Wimbledon. Id.

       Wimbledon now seeks a declaratory judgment holding that defendants Bergstein,
Grunfeld, Swartz, and Jam are the alter egos of SIP or that they used SIP as a sham to
perpetrate fraud and, as such, may be held jointly and severally liable for SIP’s liability
arising out of or under the NPA. Id. ¶ 77. Wimbledon also seeks a judgment in the
amount of at least $100,000 for the allegedly fraudulent transfer of that amount from SIP
to Swartz. Id. ¶ 86.


 
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       On November 7, 2016, a grand jury in the Southern District of New York returned
an indictment of Bergstein and Wellner for conspiracy to commit investment advisory
fraud and securities fraud, two counts of investment advisor fraud, two counts of
securities fraud, conspiracy to commit wire fraud, and wire fraud. Dkt. 286-1, Ex. A
(“Indictment”); see also United States v. David Bergstein, No. 1:16-cr-746-PKC (Nov. 7,
2016 S.D.N.Y), Dkt. 1 (“Criminal Case”). The Indictment alleges that in November
2011, Bergstein along with Wellner and Albert Hallac (the founder of Weston) engaged
in a scheme to transfer $17.7 million from Wimbledon’s Class TT Portfolio to SIP.
Indictment at ¶ 24. It further alleges that Bergstein and Wellner used Wimbledon’s funds
to pay back debt owed to another set of Weston investors; and that Bergstein falsely
represented the financial health of SIP to Wimbledon’s investors in order to induce them
into investing. Id. at ¶¶ 25–27. The Indictment also claims that Bergstein disbursed SIP
assets to Graybox and otherwise used the money invested by Wimbledon for his personal
benefit. Id. ¶¶ 28–29. Bergstein was arraigned on the Indictment on November 17, 2016.
A scheduling conference in the Criminal Case is set for a January 19, 2017.2

III.          LEGAL STANDARD

       “The Constitution does not ordinarily require a stay of civil proceedings pending
the outcome of criminal proceedings.” Keating v. Office of Thrift Supervision, 45 F.3d
322, 324 (9th Cir. 1995), cert. denied, 516 U.S. 827 (1995). Parallel civil and criminal
proceedings are unobjectionable under Ninth Circuit precedent unless such proceedings
substantially prejudice the rights of the parties involved. Id. “The decision whether to
stay civil proceedings in the face of a parallel criminal proceeding should be made ‘in
light of the particular circumstances and competing interests involved in the case.’” Id.
(quoting Fed. Sav. & Loan Ins. Corp. v. Molinaro, 889 F.2d 899, 902 (9th Cir. 1989)).
The party proposing a stay bears the burden of proving that a stay is warranted. Clinton
v. Jones, 520 U.S. 681, 708 (1997).

      A district court is vested with the discretion to stay an action based on its inherent
authority to control its own docket. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936).
Although there is no requirement that a court stay a civil action pending the outcome of a

                                                            
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        Additional background facts are known to the parties and are set forth in the
Court’s prior orders, see, e.g., dkts. 56, 82, 151.
 
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related criminal proceeding, a court may choose to do so “when the interests of justice
seem [ ] to require such action.” Keating, 45 F.3d at 324 (quotation marks omitted).

       In deciding whether to grant a motion to stay civil proceedings in favor of parallel
criminal proceedings, courts in the Ninth Circuit must consider the “extent to which the
defendant’s [F]ifth [A]mendment rights are implicated.” Id. In addition, Keating
instructs that courts should consider the following five factors: (1) the interest of the
plaintiff in proceeding expeditiously with the litigation, and the possibility that plaintiffs
would be prejudiced by a delay; (2) the burden which the proceedings may impose on
defendants; (3) the convenience of the court and the efficient use of judicial resources; (4)
the interests of persons not parties to the civil litigation; and (5) the interest of the public
in the civil and criminal litigations. Id. at 324–25. Thus, while the extent to which a
defendant’s Fifth Amendment rights are implicated is a “significant factor” to be
considered, it is “only one consideration to be weighed against others.” Id. Nonetheless,
other than cases involving bad faith or malice on the part of the government, “the
strongest case for deferring civil proceedings until after completion of criminal
proceedings is where a party under indictment for a serious offense is required to defend
a civil or administrative action involving the same matter.” SEC v. Dresser Indus., Inc.,
628 F.2d 1368, 1375–76 (D.C. Cir. 1980). In such cases, allowing the civil action to
proceed may undermine the defendant’s Fifth Amendment privilege, expand criminal
discovery beyond the limits of Federal Rule of Criminal Procedure 16(b), expose the
defense strategy to the prosecution before the criminal trial, or cause other prejudice. Id.
at 1376. Accordingly, where the civil proceeding wholly or substantially overlaps with
the criminal proceeding, a court may be justified in staying the civil case, deferring civil
discovery, or taking other protective measures. Id.

IV.          DISCUSSION

             A.   Bergstein’s Fifth Amendment Privilege

       In this case, Bergstein’s Fifth Amendment concerns are substantial. Bergstein has
been indicted on serious criminal charges: conspiracy to commit investment advisory
fraud and securities fraud, two counts of investment advisor fraud, two counts of
securities fraud, conspiracy to commit wire fraud, and wire fraud. Criminal proceedings
have commenced in a related case, United States v. Bergstein, United States v. David
Bergstein, No. 1:16-cr-746-PKC, in the Southern District of New York. Compare
 
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Molinaro, 889 F.2d at 903 (“The case for staying civil proceedings is a far weaker one
when no indictment has been returned, and no Fifth Amendment privilege is threatened.”)
(quotation marks omitted). Moreover, Wimbledon’s allegations in its civil complaint
overlap significantly with the criminal charges. Both cases rest upon claims that
defendants, including Bergstein, engaged in a scheme to fraudulently transfer funds from
Wimbledon’s Class TT portfolio to SIP and that Bergstein used money invested by
Wimbledon for his personal benefit. See SAC ¶¶ 21–37; Indictment ¶¶ 25–30. In
addition, both cases rest on claims that Bergstein misrepresented the financial health of
SIP. See SAC ¶¶ 47, 71, Indictment ¶¶ 25–28. Because the factual allegations in the two
cases substantially overlap, Bergstein and Graybox argue that Bergstein and other
defendants will likely assert their Fifth Amendment privilege in this civil action. Motion
at 8.

       Wimbledon argues that Graybox, a corporate entity that was not indicted, enjoys
no Fifth Amendment privilege. Wimbledon Opp’n at 7. Wimbledon also contends that
Bergstein has waived his Fifth Amendment privilege because (1) he has already provided
sworn testimony, through declarations, in opposition to Wimbledon’s preliminary
injunction motion; (2) he has submitted substantive responses to Wimbledon’s written
discovery requests; and (3) he has been deposed by the Securities and Exchange
Commission (“SEC”) in connection with the SEC’s investigation of Weston. Id. at 7–10.
Even if Bergstein has not waived his Fifth Amendment privilege, Wimbledon argues that
Bergstein’s Fifth Amendment interest is “negligible” because he has already provided
sworn statements. Id. at 10; IBM Corp. v. Brown, 857 F. Supp. 1384, 1390 (C.D. Cal.
1994) (“Where a defendant already has given partial deposition testimony on substantive
issues of the case, the Fifth Amendment privilege is ‘negligible’ and cannot provide the
basis for a stay.”).

       With respect to Graybox, the law is clear that a corporation has no privilege against
compulsory self-incrimination. United States v. Kordel, 397 U.S. 1, 7–8 & n. 9 (1970)
(collecting cases). “Nevertheless, the Fifth Amendment rights of every director or officer
who may speak on behalf of the corporation are implicated, and thus, the corporation is
likely to be greatly prejudiced in its ability to meaningfully defend itself in the civil
matter.” CFPB v. Glob. Fin. Support, Inc., No. 3:15-cv-02440-GPC-WVG, 2016 WL
2868698, at *3 (S.D. Cal. May 17, 2016). Wimbledon alleges that Bergstein is
Graybox’s managing member. SAC ¶ 22. Because Bergstein is a “key witness” who will
 
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not be able to testify on behalf of Graybox until the conclusion of the criminal case, see 
Cadence Design Sys. v. Avant!, Inc., No. 5:95-cv-20828-RMW-PVT, 1997 U.S. Dist.
LEXIS 24147, at *6 (N.D. Cal. July 22, 1997), Bergstein’s assertion of his Fifth
Amendment privilege is likely to prejudice Graybox.

       With respect to Bergstein, the Court cannot conclude that he has waived his Fifth
Amendment privilege in this case. Bergstein’s deposition before the SEC does not waive
his privilege because “[i]t is settled that a waiver of the Fifth Amendment privilege is
limited to the particular proceeding in which the waiver occurs.” United States v.
Licavoli, 604 F.2d 613, 623 (9th Cir. 1979) (“[V]oluntary testimony before a grand jury
does not waive the privilege against self-incrimination at trial.”). The Court further
declines to find that Bergstein’s written testimony in this case effectuates a blanket
waiver of his Fifth Amendment privilege because Wimbledon has not shown that
Bergstein’s testimony was incriminating or would result in distortion of the facts. See
Klein v. Harris, 667 F.2d 274, 287–88 (2d Cir. 1981) (a court may infer a testimonial
waiver if (1) the witness’ prior testimony has created a significant danger of distortion
and (2) whether the prior testimony was testimonial and incriminating); Chevron U.S.A.
Inc. v. M & M Petroleum Servs., Inc., No. 8:07-cv-818-DOC-AN, 2008 WL 5423820, at
*3 (C.D. Cal. Dec. 30, 2008) (declining to find a waiver of the Fifth Amendment
privilege because the moving party failed to establish that prior statements by the party
seeking to invoke the privilege constituted incriminating testimonial statements); Nursing
Home Pension Fund v. Oracle Corp., No. 3:01-cv-00988-MJJ, 2007 WL 1880381, at *12
(N.D. Cal. June 29, 2007) (“[A] ‘testimonial waiver’ is not to be lightly inferred, and the
courts accordingly indulge every reasonable presumption against finding a testimonial
waiver.” (quoting Klein, 667 F.2d at 287)); United States v. Trejo-Zambrano, 582 F.2d
460, 464 (9th Cir. 1978) (“A waiver of the Fifth Amendment privilege at one state of a
proceeding is not a waiver of that right for other stages.”). In addition, in the cases that
Wimbledon cites in which courts have declined to grant a stay because of “negligible”
Fifth Amendment interests, those courts relied on the fact that the parties asserting the
privilege had already been deposed in those proceedings. See Multiven, Inc. v. Cisco
Sys., Inc., 725 F. Supp. 2d 887, 897 (N.D. Cal. 2010) (“Adekeye has already voluntarily
submitted declarations in support of Multiven’s briefs regarding the parties’ cross-
motions for summary judgment and has been deposed extensively, including fourteen
hours of deposition testimony that he voluntarily provided in Vancouver, Canada prior to
his arrest.” (emphasis added)); FTC v. J.K. Publications, Inc., 99 F. Supp. 2d 1176, 1199
 
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(C.D. Cal. 2000) (“As the record shows, Ken Taves has testified at a deposition and
submitted sworn statements in prior proceedings in this case. Where a defendant already
has provided deposition testimony on substantive issues of the civil case, any burden on
that defendant’s Fifth Amendment privilege is ‘negligible.’” (emphases added)); Brown,
857 F. Supp. at 1390 (“Individual defendants Romoff and Dhingra already have testified
at deposition and therefore have no remaining Fifth Amendment privilege to assert.”
(emphasis added)). Bergstein has not yet been deposed in the instant case. Thus,
Bergstein’s Fifth Amendment concerns are significant, and this factor of the analysis
strongly supports a stay.

              B.             Other Keating Factors

       The remaining Keating factors together weigh in favor of Bergstein. First,
Wimbledon argues that it will suffer substantial prejudice if a stay is granted because a
stay will increase the risk that defendants, particularly IA and Jam, will dissipate assets,
and thereby impede Wimbledon’s ability to recover the money stolen from it.
Wimbledon Opp’n at 13–14. Wimbledon also argues that a stay is particularly
inappropriate because it is a victim of fraud, and it lacks the rights of attachment and
other remedies to tie up assets pending the outcome of litigation. Id. at 15. While is it
true that Wimbledon has an interest in mitigating the risk of depletion of assets, see
Brown, 857 F. Supp. at 1391, this Court granted Wimbledon’s motion for a preliminary
injunction and enjoined Graybox from transferring $2,412,000 in settlement funds to be
received by Graybox. Dkt. 70. Wimbledon has not sought a preliminary injunction to
freeze the assets of IA, Jam, or any of the other parties to this case. In addition,
Wimbledon has not alleged that defendants have attempted to dissipate assets upon the
filing of the instant action. The Court therefore concludes that Wimbledon will not suffer
substantial prejudice should the action be stayed.3

                                                            
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        Wimbledon argues that, in the event the Court orders a stay, the Court should
require Bergstein and Graybox to post a bond for $23,051,971.31, the amount of the
default judgment entered against SIP. Wimbledon Opp’n at 21; see Cadence, 1997 U.S.
Dist. LEXIS 24147, at *9 (requiring the defendant who requested a stay to post a
$5,000,000 bond as a condition of the stay in order “to protect at least some of any
potential recovery by [the plaintiff].”). In Cadence, the court ordered a bond because it
had previously denied the plaintiff’s application for a preliminary injunction. Cadence,
 
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       Second, as discussed above, this civil proceeding implicates Bergstein’s Fifth
Amendment rights to a significant degree, and allowing the civil case to proceed in
parallel with the criminal prosecution would effectively force Bergstein to choose
between defending himself in the civil case and preserving his Fifth Amendment rights.
In addition, Bergstein and Graybox argue that allowing a civil action to proceed against
Bergstein risks expanding criminal discovery beyond the limits of Federal Rule of
Criminal Procedure 16(b) and exposing the defense strategy to the prosecution before the
criminal trial, and causing other prejudice. Motion at 6. “These are both well-recognized
consequences of parallel criminal and civil proceedings that may support a stay or
deferral of discovery in cases where delay would not seriously injure the public interest
or otherwise cause prejudice.” SEC v. Alexander, No. 10-cv-04535-LHK, 2010 WL
5388000, at *5 (N.D. Cal. Dec. 22, 2010). Therefore, the Court finds that permitting this
case to proceed “could seriously burden [Bergstein] and prejudice his criminal defense.”
Id.

       Third, the convenience of the court and judicial efficiency is neutral. “[S]taying
the case makes efficient use of judicial resources by insuring that common issues of fact
will be resolved and subsequent civil discovery will proceed unobstructed by concerns
regarding self-incrimination.” Jones v. Conte, No. 3:04-cv-5312-SI, 2005 WL 1287017,
at *2 (N.D. Cal. Apr. 19, 2005) (quotation marks omitted); see also Glob. Fin. Support,
Inc., 2016 WL 2868698, at *5 (“[A] number of courts have concluded that staying a
parallel civil proceeding in its early stages may prove more efficient in the long run.”).
However, “[a]s a general matter, ‘the court [has] an interest in clearing its docket.’” Gen.
Elec. Co. v. Liang, No. 2:13-cv-08670-DDP-VBK, 2014 WL 1089264, at *6 (C.D. Cal.
Mar. 19, 2014) (quoting Molinaro, 889 F.2d at 903).



                                                                                                                                                                                                              
1997 U.S. Dist. LEXIS 24147, at *9. By contrast, the Court has granted a preliminary
injunction and frozen Graybox’s assets. Therefore “at least some of any potential
recovery” is protected. Id. (emphasis added). Moreover, the Court finds that it would be
inequitable to hold Graybox and Bergstein responsible for the entirety of the default
judgment claimed against SIP, particularly where Wimbledon expressly fears dissipation
by other parties (namely, IA and Jam). The Court therefore DENIES Wimbledon’s
request for such a bond.
 
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA                      STAYED
                                                                                “O”
                             CIVIL MINUTES - GENERAL
    Case No.      CV15-6633-CAS(AJWx); C/W:       Date January 9, 2017
                  CV16-2287-CAS(AJWx)
    Title         THE WIMBLEDON FUND, SPC (CLASS TT) v. GRAYBOX , LLC, ET
                  AL.
 
       Fourth, Wimbledon argues that its investors have a substantial interest in the
expedient resolution of this matter. Wimbledon Opp’n at 20. The Court agrees that the
interests of non-party investors in obtaining prompt monetary relief is strong. However,
while staying the civil case would certainly delay any recovery by Wimbledon that might
be passed along to investors, Wimbledon has not argued that a stay would diminish the
likelihood of their eventual recovery. “Thus, although the Court agrees that investors
have a significant interest in timely litigation of the civil proceedings, it is not convinced
that this interest outweighs the burdens on [Bergstein].” Alexander, 2010 WL 5388000,
at *6.

       Fifth, the public interest weighs in favor of a stay or is, at most, neutral. On one
hand, “the public interest is furthered by a stay because the public’s interest in the
integrity of the criminal case is entitled to precedence over the civil litigant.” Jones, 2005
WL 1287017, at *2 (quotation marks omitted); see also SEC v. Nicholas, 569 F. Supp. 2d
1065, 1073 (C.D. Cal. 2008) (“Staying the civil case, which carries only civil sanctions
and monetary penalties, is not of an equally pressing nature” as a criminal case that could
result in imprisonment of the criminal defendants). On the other hand, “the indirect
societal interest in bringing to justice the perpetrators of crimes” may not “take
precedence over the direct interest of the victims of crimes to obtain redress for their
losses.” Brown, 857 F. Supp. at 1391.

       On balance, the court concludes that the Keating factors weigh in favor of staying
the instant civil matter. Accordingly, the Court GRANTS Bergstein and Graybox’s
motion to stay this action pending the resolution of the criminal case against Bergstein.

             C.   Requests for Dismissal and a Partial Stay
      Wellner, the Weston defendants, and the Hallac defendants do not oppose a stay
but contend that the claims against them should be dismissed without prejudice. See
Wellner Opp’n at 4–5; Weston/Hallac Opp’n at 2.  Wellner argues that the claims for
indemnity and contribution against him depend on the outcome of the underlying action
and that he should not be forced to incur additional attorneys’ fees as a result of
monitoring this action, appearing at status conferences, and filing other documents with
the Court. Wellner Opp’n at 4. Similarly, the Weston and Hallac defendants argue that a
stay would place them “in limbo for years” and they contend that Bergstein and Graybox
would suffer no prejudice from a dismissal because claims against the Weston and Hallac
 
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                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA       STAYED
                                                                                          “O”
                                         CIVIL MINUTES - GENERAL
    Case No.                  CV15-6633-CAS(AJWx); C/W:       Date January 9, 2017
                              CV16-2287-CAS(AJWx)
    Title                     THE WIMBLEDON FUND, SPC (CLASS TT) v. GRAYBOX , LLC, ET
                              AL.
 
defendants are derivative. Weston/Hallac Opp’n at 4–4. The Court concludes that
judicial economy would not be served by dismissing Wellner and the Weston and Hallac
defendants because—once a stay is lifted—the parties would have to file a third party
complaint and responsive pleadings, and complete service, all over again. Moreover,
these third party defendants are likely to monitor this action even if they are dismissed
without prejudice. Therefore, the Court DENIES the requests of Wellner and the Weston
and Hallac defendants to dismiss the claims against them.

       Swartz opposes a stay to the extent it would apply to a dispositive motion filed by
him regarding Wimbledon’s claims. Swartz Opp’n at 1. Swartz intends to file a motion
for partial summary judgment seeking dismissal of Wimbledon’s alter ego claim against
him and Swartz asserts that Bergstein’s testimony will not be necessary for the Court to
resolve his motion for partial summary judgment. Id. at 2. However, Wimbledon has not
stated whether it agrees that its alter ego claim against Swartz can be resolved without
Bergstein’s testimony or without Bergstein and Graybox’s further participation in
discovery. See Reply at 14. As a result, permitting Swartz to move for partial summary
judgment could defeat the purpose of the Court’s stay. Accordingly, the Court declines
to permit Swartz to file a motion for partial summary judgment while this action is
stayed.

V.            CONCLUSION

       In accordance with the foregoing, the Court GRANTS Bergstein and Graybox’s
motion to stay this action pending the resolution of the Criminal Case against Bergstein.
The Court DENIES Wimbledon’s request that the Court require Bergstein and Graybox
to post a bond for $23,051,971.31. The Court DENIES the requests of Wellner and the
Weston and Hallac defendants to dismiss the claims against them. The Court DENIES
Swartz’s requires that he be permitted to file a motion for partial summary judgment
while this action is stayed. The Court GRANTS the government’s motion to intervene
and, given that the Court has stayed this action, GRANTS the government’s motion to
stay this case.4

                                                            
              4
        See Bureerong v. Uvawas, 167 F.R.D. 83, 87 (C.D. Cal. 1996) (granting the
government’s motion to intervene and motion to stay discovery in a civil action, pending
the resolution of a related criminal case, because “the interests of the Government in
 
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA                       STAYED
                                                                              “O”
                            CIVIL MINUTES - GENERAL
 Case No.        CV15-6633-CAS(AJWx); C/W:       Date January 9, 2017
                 CV16-2287-CAS(AJWx)
 Title           THE WIMBLEDON FUND, SPC (CLASS TT) v. GRAYBOX , LLC, ET
                 AL.

      Finally, the Court directs Bergstein and the government to file joint status reports
regarding the status of the criminal proceedings in the Southern District of New York
every 120 days from the date of the Court’s entry of a stay, or upon a resolution of the
Criminal Case, whichever first occurs.

          IT IS SO ORDERED.
                                                                             :    01 
                                                 Initials of
                                                 Preparer         IV 




protecting its criminal investigation are clearly the paramount concern here. . . . [T]he
Government’s interest in the unhindered disposition of the extremely complex criminal
case looms large over the opposing Defendants’ concerns.”).
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